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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

     JUAN ANTONIO BROCQ TREMOLADA                          CASE NO. 15-cv-22223-KMW
     and all others similarly situated under 29
     U.S.C. 216(b),

                         Plaintiff,
     v.

     NEWPORT UNIVERSAL GROUP CORP.,
     and JAVIER CHOROSZCZ,

                         Defendants
    ____________________________________/


       ORDER APPROVING JOINT MOTION FOR APPROVAL OF PARTIES’
    SETTLMENT AGREEMENT AND STIPULATED DISMISSAL WITH PREJUDICE


            Having reviewed the Settlement Agreement and Mutual Release between Plaintiff,

    JUAN ANTONIO BROCQ TREMOLADA and Defendants, NEWPORT UNIVERSAL

    GROUP CORP. and JAVIER CHOROSZCZ, it appears to the Court that due cause exists to

    approve settlement and dismiss the case with prejudice regarding Plaintiff’s claims against

    Defendants and enter Final Judgments regarding Plaintiff’s claims against NEWPORT

    UNIVERSAL GROUP CORP. and JAVIER CHOROSZCZ, with the Court to retain

    jurisdiction to enforce the terms of the Settlement Agreement and Mutual General Release. I

    is therefore:

            ORDERED and ADJUDGED that the Settlement Agreement is hereby

    APPROVED by the Court under Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350

    (11th Cir. 1982), and the case is DISMISSED WITH PREJUDICE as to the Plaintiff’s
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    claims against Defendants, pursuant to the terms of the Settlement Agreement and Mutual

    General Release and with the Court to retain jurisdiction to enforce the terms of the

    Settlement Agreement and Mutual General Release.

           DONE AND ORDERED in chambers, at Miami, Florida, this ________ day of

    August 2016.



                                       ____________________________________________
                                       ANDREA M. SIMONTON
                                       UNITED STATES MAGISTRATE JUDGE


    cc:    All Counsel of Record
